Case 3:15-cv-01743-MAS-TJB Document 78-5 Filed 02/22/18 Page 1 of 1 PageID: 899



                          CERTIFICATION OF FILING AND SERVICE

        I, -Shamsiddin Abdur-·Rah_eem.,                     certify that I sent for filing

on    th i s     date be 1 ow · t 6 the C1 erk · of the Unt t e d St ates Di.strict.

Court,· District                of   New       Jersey,       402    East,. State        Street,       Room

2020,       Trenton,       NJ    08608,         VIA    REGUL~~R     MAIL,       by    placing    in    the

hands       ~f   prison officers for mailing                       with prepaid postage remit

the enclosed Notice of Motion To Reopen The Time T~ Appeal with
                                           .            .


supporting Certification and attached exhibits, and this instant
Certification             of    Filing         and     Service;     and     I    served     same      upon,
counsel for Defendants                ~ia       ECF.



        A courtesy copy of the .aforesaid documents have been· sent

to:

                  Tonianne Bongiovanni, U.S.M.J.
                  United States District Court
                  402 E. State Street, Roo~ 2020
                  Trenton, NJ 08608

        I       certify    tha·t     the       foregoing       statements            made   by   me    are

true.       I    am aware       that if any of               the   foregoing         statements made

by are willfully false,                I am subject to punishmente

                                                              Respectfµlly submitted,




                                                             By: Sharnsiddin           Abdur-R~heem
Date: February 16, 2018
